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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Ex Parte Application of

RICHARD RANDALL GREEN,

                  Applicant,               Case No. _________

For an Order Pursuant to 28 U.S.C. §1782
Granting Leave to Obtain Discovery From
DEUTSCHE BANK TRUST COMPANY
AMERICAS and CITIBANK, NATIONAL
ASSOCIATION For Use In Foreign
Proceedings




      MEMORANDUM OF LAW IN SUPPORT OF EX PARTE APPLICATION FOR
            JUDICIAL ASSISTANCE PURSUANT TO 28 U.S.C. §1782
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       Richard Randall Green (the “Applicant”), by and through his undersigned counsel,

respectfully submits this memorandum of law in support of his application (the “Application”)

pursuant to 28 U.S.C. § 1782 (“Section 1782”) for judicial assistance to conduct discovery of

respondents Deutsche Bank Trust Company Americas (“Deutsche Bank Americas”) and

Citibank, National Association (“Citibank”).

                            I.      PRELIMINARY STATEMENT

       Applicant is a former non-executive director and Chairman of NewSat Limited (in

liquidation) (receivers and managers appointed) (“NewSat”) and Jabiru Satellite Limited (in

liquidation) (receivers and managers appointed) (“Jabiru”). He is currently a defendant in a

judicial proceeding entitled Newsat Limited (In Liquidation)(Receivers and Managers

Appointed) & Anor v. Adrian Maxwell Ballintine & Anor, File No. VID51/2017, currently

pending in the Federal Court of Australia (the “Australian Litigation”). The Australian

Litigation was brought against him by the receivers and managers of NewSat and Jabiru (the

“Plaintiff Companies”), who allege, among other things, that Applicant breached certain duties

of care and diligence he had as a director (“fiduciary duties”) when he “allowed” the Plaintiff

Companies to enter into certain financing agreements with various secured lenders – now,

secured creditors of the Plaintiff companies – for the purpose of funding the construction and

launch of a commercial satellite.

       In support of his defenses to the action filed against him in Australia, Applicant seeks

narrowly-tailored document discovery from two of the Plaintiff Companies’ secured creditors

under the above-described financial agreements: Deutsche Bank Americas and Citibank. More

particularly, Applicant seeks documents and communications from Deutsche Bank Americas and

Citibank concerning (a) the considerations that these secured creditors undertook in agreeing to

provide the Plaintiff Companies with financing under the financing agreements; and (b) these



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secured creditors’ ongoing considerations in agreeing to provide financing to the Plaintiff

Companies, including the granting of waivers to NewSat and Jabiru under the financing

agreements. These documents are relevant as they may show that the secured creditors, after

having performed their due diligence, were satisfied that NewSat and Jabiru were capable of

completing the satellite project and repaying their debt, and therefore counter the allegations of

the plaintiffs in the Australian Litigation that no reasonable director would have allowed the

Plaintiff Companies to enter into the financing agreements.

       Applicant’s Section 1782 application satisfies the three statutory requirements. First it is

being brought in “the district in which [the] person resides or is found,” (28 U.S.C. § 1782(a)),

because (i) Deutsche Bank Americas has its headquarters in Manhattan, and (ii) Citibank carries

on substantial, continuous, and systematic business in Manhattan. Second, Applicant seeks the

discovery for “use in a proceeding in a foreign . . . tribunal,” (id.), namely the Federal Court of

Australia, Victoria. Third, Applicant, as a litigant in the Australian Litigation, qualifies as an

“interested person.” See id.

       Moreover, the factors identified by the U.S. Supreme Court to guide courts’ discretion in

analyzing applications under Section 1782 all favor granting Applicant’s request. Neither

Deutsche Bank Americas nor Citibank is a participant in the foreign proceedings, and Section

1782 provides an effective mechanism for obtaining the targeted discovery set forth in Exhibits

B and C to the Application. In addition, the Australian Federal Court is receptive to the

document discovery sought by Applicant, which (as was previously stated) will provide the

Australian court with information that is both useful and highly relevant to Applicant’s defense.

Applicant’s request is not made to circumvent any limitation on discovery imposed by the

Australian courts. Finally, the discovery request is narrowly tailored and is not unduly intrusive




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or burdensome.

       Accordingly, Applicant respectfully requests that the Court grant this Application

pursuant to Section 1782, permitting Applicant to serve the subpoenas attached as Exhibits B and

C to the Application on Deutsche Bank Americas and Citibank respectively.

                            II.      JURISDICTION AND VENUE

       This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 in that this

matter arises under Section 1782. This Court has personal jurisdiction over respondent Deutsche

Bank Americas, which maintains its corporate headquarters and principal place of business at 60

Wall Street, New York, NY. Roman Decl., ¶ 10; and France Decl., ¶ 23. The Court also has

personal jurisdiction over respondent Citibank in that Citibank conducts significant, systematic

and continuous business activity in this District, having over 70 branches and maintaining a

number of corporate offices in Manhattan, including one at 388 Greenwich Street, New York,

NY. Roman Decl., ¶¶ 11-12; and France Decl., ¶ 23.

                              III.   FACTUAL BACKGROUND

       Applicant, a former non-executive director and Chairman of the Plaintiff Companies, is

one of two defendants in the Australian Litigation. France Decl.,1 ¶¶ 1 and 4; and Roman Decl.,2

¶ 3 and Exh. A. The Australian Litigation was brought by the receivers and managers of the

Plaintiff Companies. France Decl., ¶ 3.

       In the Australian Litigation, the Plaintiff Companies allege that Applicant breached

certain duties of care and diligence he had as a director (“fiduciary duties”) when, during the

1
 “France Decl.” and “France Declaration” refer to the Declaration of Bryan Michael France In
Support of this Ex Parte Application for Judicial Assistance Pursuant To 28 U.S.C. §1782. The
France Declaration was filed concurrently with this Application.
2
  “Roman Decl.” and “Roman Declaration” refer to the Declaration of Eric Roman In Support of
this Ex Parte Application for Judicial Assistance Pursuant To 28 U.S.C. §1782. The Roman
Declaration was also filed concurrently with this Application.



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period between January 2011 and July 2013, he and his co-defendant Mr. Ballintine purportedly

caused or “allowed” the Plaintiff Companies to enter into five agreements by which the Plaintiff

Companies obtained financing from certain secured lenders in order to pay for the construction

and launch of a commercial satellite. Id., ¶¶ 5-7. The five financing agreements at issue are: (i)

the COFACE Facility Agreement; (ii) the Reserve Facility Agreement; (iii) the Export-Import

Bank of the United States (“Ex-Im”) Agreement; (iv) the Common Terms Agreement; and (v)

the Security Trust Deed (collectively, the “Financing Agreements”). Id., ¶ 8. All five of the

Financing Agreements were executed by the Plaintiff Companies on July 4, 2013. Id.

       The alleged breach, according to the plaintiffs, was that Applicant failed to give proper

consideration to the viability of the satellite project and the ability of the Plaintiff Companies to

execute on that project before causing or allowing the Plaintiff Companies to enter into the

Financing Agreements. Id., ¶¶ 10 and 12. That is to say, the plaintiffs allege that no reasonable

director should have permitted the Plaintiff Companies to be bound by the terms of these

Financing Agreements, which – given the financial condition or operational capabilities of the

Plaintiff Companies at the time the Financing Agreements were being considered – were

purportedly too onerous for the Plaintiff Companies to meet. The Plaintiff Companies’ efforts to

construct and launch the satellite eventually failed, and the Plaintiff Companies were placed into

administration on April 17, 2015, and subsequently into liquidation, on August 7, 2015. Id., ¶ 6.

       The secured creditors under the Financing Agreements include, among others, Deutsche

Bank Americas and Citibank. See France Decl., ¶ 7. As part of his defense, Applicant seeks to

argue that the secured creditors performed due diligence prior to agreeing to enter into the

Financing Agreements and provide funding to the Plaintiff Companies. Id., ¶ 12. The

information that the secured creditors received from the Plaintiff Companies in the course of




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their due diligence efforts must have satisfied them that the Plaintiff Companies’ satellite project

was commercially viable, and that the Plaintiff Companies were capable of both implementing

the project and repaying the debt they would be incurring under the Financing Agreements. Id.

In addition, the secured creditors continued to provide financing throughout the course of the

project, and even waived some of the requirements under the Financing Agreements in an effort

to continue to do business with the Plaintiff Companies. Id., ¶ 9. The basis for the secured

creditors’ decision to enter into the Financing Agreements with the Plaintiff Companies, as well

as the factors they considered when continuing to finance the satellite project (including their

consideration in making the decision to waive certain requirements set forth in the Financing

Agreements), are all highly relevant to Applicant’s defense, in that they tend to counter the

plaintiffs’ allegations that no reasonable director would have allowed the Plaintiff Companies to

enter into the Financing Agreements. Id., ¶¶ 10-12.

       During the course of the Australian Litigation, Applicant requested production of

documents concerning (a) the considerations the secured creditors undertook in agreeing to

provide the Plaintiff Companies with financing under the Financing Agreements; and (b) the

secured creditors’ ongoing considerations in agreeing to provide financing to the Plaintiff

Companies, including the granting of waivers to the Plaintiff Companies under the Financing

Agreements. Id., ¶¶ 13-15. Applicant made repeated efforts to obtain these documents from the

plaintiffs, as described in detail in paragraphs 16 to 19 of the France Declaration. However,

Applicant was informed by the plaintiffs that the secured creditors – including Deutsche Bank

Americas and Citibank – refused to produce or otherwise provide access to such documents to

Applicant. Id., ¶ 20. As of the date of this declaration, plaintiffs have failed to produce

documents concerning the Financing Agreements from any of the secured creditors, including




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Deutsche Bank Americas and Citibank. Id., ¶ 21.

       On information and belief, these documents are in the possession of Deutsche Bank

Americas and Citibank, both of which are located in the United States, and both of whom either

reside or are otherwise within this District. Id., ¶¶ 14 and 22-23. Without the judicial assistance

of the U.S. Federal District Court, Applicant will be unable to obtain the above-referenced

documents from Deutsche Bank Americas and Citibank, as these two companies are located in

the United States and are outside the jurisdiction of the Australian courts. Id., ¶ 24.

                                       IV.     ARGUMENT

       Congress fashioned Section 1782 to provide “broad assistance” to foreign tribunals.

United States v. Global Fishing, Inc., 634 F.3d 557, 563 (9th Cir. 2011). In order to obtain

discovery under Section 1782, Applicant must first establish three basic statutory prerequisites.

If these prerequisites are satisfied, the court shall consider several discretionary factors. Intel

Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 255-56 (2004).

       Here, Applicant satisfies both the statutory prerequisites and the discretionary Intel

prongs. The discovery Applicant requests is exactly the type of discovery that Congress

contemplated when passing 28 U.S.C. § 1782. This Application therefore should be granted.

       A.      Applicant Satisfies Section 1782’s Three Statutory Prerequisites

       Section 1782(a) provides that:

               The district court of the district in which a person resides or is
               found may order him to give his testimony or statement or to
               produce a document or other thing for use in a proceeding in a
               foreign or international tribunal, including criminal investigations
               conducted before formal accusation. The order may be made
               pursuant to a letter rogatory issued, or request made, by a foreign
               or international tribunal or upon the application of any interested
               person and may direct that the testimony or statement be given, or
               the document or other thing be produced, before a person
               appointed by the court. By virtue of his appointment, the person
               appointed has power to administer any necessary oath and take the



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               testimony or statement. The order may prescribe the practice and
               procedure, which may be in whole or part the practice and
               procedure of the foreign country or the international tribunal, for
               taking the testimony or statement or producing the document or
               other thing. To the extent that the order does not prescribe
               otherwise, the testimony or statement shall be taken, and the
               document or other thing produced, in accordance with the Federal
               Rules of Civil Procedure.

28 U.S.C. § 1782(a).

       Discovery pursuant to 28 U.S.C. § 1782 has three statutory prerequisites. The statute may

be properly invoked where (1) the discovery is sought from persons residing or found in the

district of the court to which the application is made; (2) the discovery is for use in a proceeding

before a foreign tribunal; and (3) Applicant is a foreign or international tribunal or an “interested

person.” See Esses v. Hanania (In re Esses), 101 F.3d 873, 875 (2d Cir. 1996). Applicant

satisfies all three requirements.

       First, both Deutsche Bank Americas and Citibank either reside or are found in the

Southern District of New York for the purposes of Section 1782. Deutsche Bank Americas

maintains its corporate headquarters and principal place of business at 60 Wall Street, New York,

NY. See Roman Decl., ¶ 10 and Exhibit H. On information and belief, the documents sought

from Deutsche Bank Americas are either located or readily accessible this location. See France

Decl., ¶ 23; and Roman Decl., ¶ 13 and Exh. K. Thus, Deutsche Bank Americas is “found” in

this District for purposes of Section 1782. See In re Certain Funds, Accounts, &/or Inv. Vehicles

Managed by Affiliates of Fortress Inv. Grp. LLC, No. 14 CIV. 1801 NRB, 2014 WL 3404955, at

*4 (S.D.N.Y. July 9, 2014) (holding that when a corporation maintains its headquarters in New

York, it is found within this district for purposes of Section 1782) (internal citations and

quotations omitted).

       Respondent Citibank, while headquartered in Sioux Falls, South Dakota, conducts




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continuous, systematic, and significant business within this District. See Roman Decl., ¶ 10.

Citibank has approximately 70 branches in New York County alone, and maintains corporate

offices at several locations, including one at 388 Greenwich Street, New York, NY where, on

information and belief, the documents sought are either located or readily accessible. Id; see

also France Decl., ¶ 23; and Roman Decl., ¶ 12 and Exh. J. The operation of these branches and

corporate offices establishes the requisite “systematic and continuous local activities” that render

Citibank “found in” the Southern District of New York. See In re Godfrey, 526 F. Supp. 2d 417,

422 (S.D.N.Y. 2007) (in a Section 1782 application, a corporation is “found” in the district

where it conducts “systematic and continuous” activities); see also In re Republic of Kazakhstan

for an Order Directing Discovery from Clyde & Co. LLP Pursuant to 28 U.S.C. sec. 1782, No.

15 MISC. 0081 SHS, 2015 WL 3855113, at *2 (S.D.N.Y. June 22, 2015) (holding that

respondent law firm is found in S.D.N.Y. based on “systematic and continuous” presence from

New York office of a law firm that admittedly “operate[s] as a single law firm”); In re Kreke

Immobilien KG, No. 13 MISC. 110 NRB, 2013 WL 5966916, at *3 (S.D.N.Y. Nov. 8, 2013)

(German bank operating in New York with branch office that was not a separate legal entity was

“found” in S.D.N.Y. for purposes of § 1782).

       Second, there is no question that Applicant seeks discovery for use in a proceeding before

a foreign tribunal as is required by Section 1782. Applicant seeks documents to be used to aid

his defense in the above-described Australian Litigation, to which he is a party-defendant.

France Decl., ¶ 1, 13, and 22 to 26. That litigation is currently pending before a foreign tribunal,

specifically, the Federal Court of Australia at Victoria. Id. This Application therefore satisfies

the second requirement of Section 1782.

       As to the third requirement, as a party to the Australian Litigation, Applicant is clearly an




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“interested person” within the meaning of 28 U.S.C. § 1782. See Intel Corp., 542 U.S. at 256

(“No doubt litigants are included among, and may be the most common example of, the

“interested person[s]” who may invoke § 1782 . . .”); accord In re Mare Shipping Inc., 2013 U.S.

Dist. LEXIS 152337, *9 (S.D.N.Y. 2013).

       Thus, all three of Section 1782’s requisite prongs are satisfied.

       B.      The Supreme Court’s Intel Factors Strongly Favor Granting Applicant’s
               Section 1782 Application

       Once the statutory requirements are met, “a district court may grant discovery under §

1782 in its discretion.” Mees v. Buiter, 793 F.3d 291, 298 (2d Cir. 2015). In Intel Corp., the U.S.

Supreme Court identified four factors that “bear consideration” by district courts in exercising

their discretion to grant a Section 1782 discovery application: (1) whether the person from whom

discovery is sought is a party in the foreign proceeding; (2) the nature of the foreign tribunal, the

character of the foreign proceedings, and the receptivity of the foreign tribunal to federal-court

assistance; (3) whether the request “conceals an attempt to circumvent foreign proof-gathering

restrictions or other policies of a foreign country of the United States”; and (4) whether the

request is unduly intrusive or burdensome. Intel Corp., 542 U.S. at 264-65.

       In this case, all four Intel factors weigh in favor of granting Section 1782 discovery.

               1.      Neither Citibank Nor Deutsche Bank Americas Are Parties to the
                       Underlying Australian Litigation

       The first Intel factor inquires into whether “the person from whom discovery is sought is

a participant in the foreign proceeding.” Intel, 542 U.S. at 264 (noting that “nonparticipants in

the foreign proceeding may be outside the foreign tribunal’s jurisdictional reach; hence, their

evidence, available in the United States, may be unobtainable absent § 1782 aid”).

       In the present case, neither Citibank nor Deutsche Bank Americas are parties to the

Australian Litigation, and both lie outside the jurisdictional reach of the Australian Federal



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Court. France Decl., ¶¶ 23-24. The Australian Federal Court therefore has no power to compel

Citibank or Deutsche Bank Americas to produce the sought-after documents, and neither

Citibank nor Deutsche Bank Americas is willing to voluntarily produce the requested documents.

Id. In short, the documents that Applicant seeks from Deutsche Bank Americas and Citibank

cannot be obtained for use in the Australian Litigation without Section 1782 assistance from this

District Court. Id. For all these reasons, the first Intel factor is satisfied.

                2.      Applicant Seeks Highly Relevant Documents That Will Assist and Be
                        Well Received by the Australian Federal Court

        The second Intel factor counsels courts to “take into account the nature of the foreign

tribunal, the character of the proceedings underway abroad, and the receptivity of the foreign

government or the court or agency abroad to U.S. federal-court judicial assistance.” Intel, 542

U.S. at 264. In the absence, however, of “authoritative proof that a foreign tribunal would reject

evidence obtained with the aid of section 1782,” a district court should err on the side of

permitting discovery. In re Euromepa S.A., 51 F.3d 1095, 1100 (2d Cir. 1995). Rather than deny

a § 1782 request because it suspects that the evidence gathered would ultimately be rejected by

the foreign tribunal, a U.S. district court should presumptively allow discovery to the extent that

such a grant would promote the statute's goals of efficiency and comity. See Euromepa, 51 F.3d

at 1100.

        There is nothing to suggest that the Federal Court of Australia would reject the

documents that are being sought after in this Section 1782 Application. There are, in fact, cases

on record of Section 1782 applications seeking document discovery for use in an Australian

court proceedings being granted in this District, with no indication that the Australian courts

would reject such discovery. See, e.g., Norcast S.ar.l. v. Castle Harlan, Inc., No. 12 CIV. 4973

PAC, 2014 WL 43492, at *1 (S.D.N.Y. Jan. 6, 2014) (noting that Applicant in that case had




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previously filed a Section 1782 application seeking discovery to be used in an actual or proposed

litigation in Australia and that the application was granted in part); In re Application of Barnet,

No. 13 MISC. 214 RMB, 2014 WL 7409524, at *5 (S.D.N.Y. Dec. 30, 2014) (noting as part of

the background of the dispute that the “Australian court ordered the Liquidators to submit

evidence that had been disclosed in the 1782 proceeding by mid-March 2014”).

       In addition, Gilbert + Tobin Lawyers (“Gilbert + Tobin”), who are the solicitors

representing Applicant in the Australia Litigation, have other experience with Section 1782

applications seeking documents for use in the Australian courts. France Decl., ¶ 26. Given the

relevance of the sought-after documents to Applicant’s defense (as explained in detail in the

Factual Background section, supra), the Australian Federal Court has been advised that this

Application is being made. Id. at ¶ 27.

               3.      This Application Does Not Conceal An Attempt to Circumvent
                       Foreign Proof-Gathering Restrictions

       This Application is not an attempt to “circumvent foreign proof-gathering restrictions” or

other policies of Australia or the United States. Rather, it is a good faith effort to access

probative and highly relevant evidence for use in the Australian Litigation.

       Judges in this district and elsewhere have interpreted this Intel factor to turn on whether

applicants are seeking discovery in bad faith. See In re Auto-Guadeloupe Investissement S.A.,

2012 U.S. Dist. LEXIS 147379, *23 (S.D.N.Y. Oct. 10, 2012) (applicant’s characterization of

foreign proceedings was misleading and inaccurate); see also Chevron Corp. v. Shefftz, 754 F.

Supp. 2d 254, 262 (D. Mass. 2010). A Section 1782 applicant is not required to seek discovery

of the materials sought from the foreign tribunal before filing a Section 1782 application. See

Euromepa, 51 F.3d at 1098 (Section 1782 contains no “quasi-exhaustion requirement” that

would force litigants to seek discovery from the foreign tribunal in advance of requesting such




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discovery from the district court in a Section 1782 application). The information sought need not

be discoverable or admissible in the foreign forum. Intel, 542 U.S. at 253 (holding that “§

1782(a) does not impose . . . a [foreign-discoverability] requirement.”); Brandi-Dohrn v. IKB

Deutsche Industriebank AG, 673 F.3d 76, 82 (2d Cir. 2012).

        Where, as here, the foreign tribunal simply lacks jurisdiction to compel the respondent to

provide evidence and applicants are not seeking to use Section 1782 for abusive purposes, the

third Intel prong is satisfied. 

                4.      The Discovery Sought Is Narrowly Tailored to the Needs of the
                        Australian Litigation, and Is Neither Burdensome Nor Intrusive.

        Like all federal discovery, the proper scope of discovery under Section 1782 is governed

by Federal Rule of Civil Procedure 26(b). Mees, 793 F.3d at 302; In re 28 U.S.C. § 1782, 249

F.R.D. 96, 106 (S.D.N.Y. 2008). Accordingly, district courts retain “broad authority...to fashion

discovery orders issued pursuant to section 1782.” In re Application of Malev Hungarian

Airlines, 964 F.2d 97, 102 13 (2d. Cir. 1992). Here, Applicant’s discovery requests, drafts of

which are attached hereto as Exhibit A (documents subpoena to Deutsche Bank Americas) and

Exhibit B (documents subpoena to Citibank) are narrowly tailored both in time and scope to

include only information likely to be relevant to the Australian Litigation.

        As may be seen from Applicant’s proposed subpoenas, the contemplated requests are

limited to non-privileged documents and communications in Deutsche Bank Americas’ or

Citibank’s possession, custody or control, that concern the Financing Agreements and financing

provided to the Plaintiff Companies pursuant to the Financing Agreements. This limited

universe of information sought from Deutsche Bank Americas and Citibank is neither unduly

intrusive nor burdensome, is directly relevant to Applicant’s defenses in the Australian

Litigation, and falls well within the broad scope of discovery permitted under the Federal Rules.




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       Applicant satisfies this fourth and final Intel prong.

                                     V.      CONCLUSION

       For the foregoing reasons, Applicant respectfully requests that the Court enter an Order

granting leave to serve Deutsche Bank Americas and Citibank with the documents subpoenas

attached to the Application as Exhibits B and C respectively. 



Dated: February 26, 2018                           Respectfully submitted,



                                                   By: s/ Eric Roman
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